          Case 1:17-cv-02041-RJL Document 91 Filed 08/05/20 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                  )
MIKHAIL FRIDMAN, PETR AVEN, and                   )
GERMAN KHAN,                                      )
                                                  )
       Plaintiffs,                                )   Case No.
                                                  )
v.                                                )   0:17-cv-02041 (RJL)
                                                  )
BEAN LLC (a/k/a FUSION GPS) and                   )
GLENN SIMPSON,                                    )
                                                  )
       Defendants.                                )



 NON-PARTIES CHRISTOPHER STEELE, CHRISTOPHER BURROWS AND ORBIS
        BUSINESS INTELLIGENCE LTD.’S MOTION TO INTERVENE
   FOR THE LIMITED PURPOSE OF OPPOSING PLAINTIFFS’ MOTION FOR
               ISSUANCE OF LETTER OF REQUEST FOR
               INTERNATIONAL JUDICIAL ASSISTANCE

       COME NOW Non-Parties Christopher Steele, Christopher Burrows, and Orbis Business

Intelligence Ltd. (the “Non-Parties”), by and through their undersigned counsel of record, and,

pursuant to Fed. R. Civ. P. 24, move the Court to allow their intervention in this action for the sole

purpose of objecting to the Plaintiffs’ Motion for Issuance of Letter of Request for International

Judicial Assistance (Dkt. No. 90, Aug. 4, 2020) (“Hague Request”), which seeks to pursue

discovery from the Non-Parties and other foreign individuals.

       The D.C. Circuit has “identified four prerequisites to intervene as of right: ‘(1) the

application to intervene must be timely; (2) the applicant must demonstrate a legally protected

interest in the action; (3) the action must threaten to impair that interest; and (4) no party to the

action can be an adequate representative of the applicant’s interests.” Karsner v. Lothian, 532

F.3d 876, 885 (D.C. Cir. 2008) (quoting SEC v. Prudential Sec. Inc., 136 F.3d 153, 156 (D.C. Cir.


                                                  1
          Case 1:17-cv-02041-RJL Document 91 Filed 08/05/20 Page 2 of 4




1998)). Even if the intervention is not a matter of right, the Court has discretion to allow for

permissive intervention under Rule 24(b).

       Here, the Non-Parties are promptly filing this Motion, one day after receiving Plaintiffs’

Hague Request. The Non-Parties are the very target of the Hague Request, which seeks to force

the Non-Parties to undergo the time, burden, and expense of the discovery sought by Plaintiffs.

The Hague Request threatens to impair their interest by seeking to compel testimony and document

production from the Non-Parties, including discovery related to sensitive and confidential

information—discovery that the D.C. Superior Court and the D.C. Court of Appeals denied these

same Plaintiffs. No other parties to this action can protect their interests, and indeed none have:

the Hague Request was filed as “unopposed” by the parties to this case. Therefore, whether by

right or by discretion, the Court should give the Non-Parties an opportunity to be heard for this

limited purpose.

       In order to itemize and support their objections to the Hague Request, the Non-Parties

respectfully request the Court to allow them to file a motion to quash or modify the Hague Request

within fourteen (14) days of the date of this Court’s granting of this Motion to Intervene.

       Pursuant to Local Rule 7(m), counsel for the Non-Parties has conferred with Plaintiffs’

counsel who stated that Plaintiffs oppose the requested relief.



       Respectfully submitted this 5th day of August, 2020.



                                      /s/ Kelley C. Barnaby
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                                                 2
Case 1:17-cv-02041-RJL Document 91 Filed 08/05/20 Page 3 of 4




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                     Burrows, and Orbis Business Intelligence Ltd.




                               3
         Case 1:17-cv-02041-RJL Document 91 Filed 08/05/20 Page 4 of 4




                               CERTIFICATE OF SERVICE

       This is to certify that I have this day filed the foregoing MOTION TO INTERVENE with

the Court’s CM/ECF Service, which will provide electronic notice to counsel of record this 5th

day of August, 2020.



                                            /s/ Kelley C. Barnaby
                                            KELLEY C. BARNABY




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